           Case 2:23-cv-00873-APG-NJK Document 20 Filed 10/31/23 Page 1 of 2



 1   SIGAL CHATTAH, ESQ.
     NV Bar No.: 8264
 2   CHATTAH LAW GROUP
     5875 S. Rainbow Blvd. #204
 3   Las Vegas, Nevada 89118
     (702) 360-6200
 4   (702) 643-6292
     Chattahlaw@gmail.com
 5   Attorney for Plaintiffs
 6
                                UNITED STATES DISTRICT COURT
 7
                                        DISTRICT OF NEVADA
 8

 9
                                                         )
                                                         )
10
     KASHYAP P. PATEL, individually and on behalf of the )
11   KASH FOUNDATION, INC., the KASH FOUNDATION, )
     INC. an Idaho Corporation.                          )
                                                         )          Case No. 2:23-cv-00873
12
                                                         )
                   Plaintiffs,
                                                         )          AFFIDAVIT IN SUPPORT
13   v.                                                  )          OF DEFAULT
                                                         )
14   JIM STEWARTSON, an individual,                      )
                                                         )
15
                  Defendant.                             )
                                                         )
16
                                                         )
                                                         )
17
                                                      )
18

19
                              AFFIDAVIT IN SUPPORT OF DEFAULT

20
            I, SIGAL CHATTAH, hereby declare under penalty of perjury, pursuant to 28 U.S.C

21   §1746(2) that the following statements are true and correct:

22          1. That I am the attorney for Plaintiffs KASHYAP P. PATEL and the KASH

23              FOUNDATION, INC.
24

25




                                                    -1-
     Case 2:23-cv-00873-APG-NJK Document 20 Filed 10/31/23 Page 2 of 2



 1   2. I hereby make application to the Clerk of this Court for entry of default as to
 2      Defendant JIM STEWARTSON, pursuant to Rule 55(a) Federal Rules of Civil
 3
        Procedure and in support of this application do show that:
 4
        (a) The Defendant was personally served on October 7, 2023, with copies of
 5
            Plaintiffs’ Summons and Complaint as provided by Rule 4(c)(1), Federal Rules of
 6
            Civil Procedure;
 7
        (b) Upon Plaintiffs’ information and belief, the Defendant, being a California
 8
            resident, is neither an infant nor an incompetent person requiring special service
 9

10
            in accordance with Rule 4(g), Federal Rules of Civil Procedure, and is not serving

11          with the armed forces of the United States entitled to the protection of 50 U.S.C

12          App. §520;

13      (c) That Defendant has neither answered nor otherwise responded formally to
14          Plaintiffs’ Summons and Complaint, and the time to do so, as provided in Rule
15
            12(a), Federal Rules of Civil Procedure, has expired.
16
        (d) Copies of this Affidavit have this date been served upon the defendant by regular
17
            mail, postage prepaid.
18
            Dated this 31st day of October, 2023.
19

20
                                                         /S/ Sigal Chattah
21                                                       SIGAL CHATTAH, ESQ.
                                                         Nevada Bar No.: 8264
22                                                       CHATTAH LAW GROUP
                                                         5875 S. Rainbow Bl., Ste. 204
23                                                       Las Vegas, Nevada 89118
                                                         Tel: (702) 360-6200
24                                                       Attorney for Plaintiffs
25




                                             -2-
